Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 1 of 35 Page ID #:1




 1   Steven J. Nataupsky (SBN 155913)
     steven.nataupsky@knobbe.com
 2   Lynda J. Zadra-Symes (SBN 156511)
     lynda.zadrasymes@knobbe.com
 3   Matthew S. Bellinger (SBN 222228)
     matt.bellinger@knobbe.com
 4   Daniel C. Kiang (SBN 307961)
     daniel.kiang@knobbe.com
 5   KNOBBE, MARTENS, OLSON & BEAR, LLP
     2040 Main Street, Fourteenth Floor
 6   Irvine, CA 92614
     Phone: (949) 760-0404
 7   Facsimile: (949) 760-9502
 8   Attorneys for Plaintiff
     MONSTER ENERGY COMPANY
 9
10
11
12                  IN THE UNITED STATES DISTRICT COURT
13                FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
     MONSTER ENERGY COMPANY,             ) Case No. 5:18-cv-1367
15                                       )
     a Delaware corporation,             ) COMPLAINT FOR TRADEMARK
16                                       ) INFRINGEMENT, FALSE
                 Plaintiff,              ) DESIGNATION OF ORIGIN,
17                                       )
           v.                            ) UNFAIR COMPETITION, AND
18
     THUNDER BEAST LLC, a District       ) CANCELLATION OF
     of Columbia limited liability       ) TRADEMARK REGISTRATION
19                                       )
     company, and                        ) DEMAND FOR JURY TRIAL
20                                       )
     STEPHEN NORBERG, an                 )
21   individual,                         )
                 Defendants.             )
22
23
24
25
26
27
28
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 2 of 35 Page ID #:2




 1         Plaintiff Monster Energy Company (“Plaintiff” or “Monster”) hereby
 2   complains of Defendants Thunder Beast LLC (“Thunder Beast”) and Stephen
 3   Norberg (collectively, “Defendants”), and alleges as follows:
 4                                 I. THE PARTIES
 5         1.    Monster is a corporation organized and existing under the laws of
 6   the State of Delaware, having a principal place of business at 1 Monster Way,
 7   Corona, California 92879.
 8         2.    Upon information and belief, Defendant Thunder Beast is a limited
 9   liability company organized and existing under the laws of the District of
10   Columbia, and having a place of business at 1110 Congress St NE, Washington,
11   District of Columbia 20002.
12         3.    Upon information and belief, Defendant Stephen Norberg is an
13   individual residing in Washington, District of Columbia, and is the sole owner
14   and sole officer of Defendant Thunder Beast.
15                        II. JURISDICTION AND VENUE
16         4.    This is an action for: 1) trademark infringement and false
17   designation of origin under 15 U.S.C. § 1125(a); 2) trademark infringement
18   under 15 U.S.C. § 1114; 3) unfair competition arising under California Business
19   & Professions Code § 17200 et seq.; 4) California common law unfair
20   competition; and 5) cancellation of U.S. Trademark Registration No. 4,772,758
21   under 15 U.S.C. § 1119.
22         5.    The Court has original subject matter jurisdiction over the claims
23   relating to trademark infringement, false designation of origin, and cancellation
24   of Defendant Thunder Beast’s trademark registration pursuant to 15 U.S.C.
25   §§ 1116 and/or 1121(a). The Court also has original subject matter jurisdiction
26   over those claims pursuant to 28 U.S.C. §§ 1331 and 1338, as these claims arise
27   under the laws of the United States. The Court has supplemental jurisdiction
28   over the claims in this Complaint which arise under state statutory and common
                                            -1-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 3 of 35 Page ID #:3




 1   law pursuant to 28 U.S.C. §§ 1338(b) and 1367(a), because the state law claims
 2   are so related to the federal claims that they form part of the same case or
 3   controversy and derive from a common nucleus of operative facts.
 4         6.     Defendant Thunder Beast is subject to the personal jurisdiction of
 5   this Court because it has committed acts of trademark infringement, false
 6   designation of origin, and unfair competition in this Judicial District, including,
 7   but not limited to, by using infringing marks in connection with the
 8   advertisement, marketing, promotion, sale, and offering for sale of goods to
 9   customers in this Judicial District. Thunder Beast’s acts form a substantial part
10   of the transactions, occurrences, events or omissions giving rise to Monster’s
11   claims.
12         7.     Defendant Stephen Norberg is subject to the personal jurisdiction
13   of this Court because he, as the sole owner and sole officer of Defendant
14   Thunder Beast, directed and/or controlled the acts of infringement complained
15   of herein. Mr. Norberg’s direction and control over the acts complained of
16   herein in this Judicial District constituting trademark infringement, false
17   designation of origin, and unfair competition form a substantial part of the
18   transactions, occurrences, events or omissions giving rise to Monster’s claims.
19         8.     In addition, upon information and belief, Defendants also targeted
20   and directed their acts of infringement, false designation of origin, and unfair
21   competition complained of herein towards this Judicial District.             Upon
22   information and belief, Defendants knew and intended that their actions
23   complained of herein would cause injury to Monster, and that such injury would
24   be felt greatest in California and in this Judicial District, where Defendants
25   knew Monster has its principal place of business.
26         9.     Venue is proper in this Judicial District pursuant to 28 U.S.C.
27   § 1391(b) at least because a substantial portion of the transactions, occurrences,
28   events or omissions complained of herein took place in this Judicial District.
                                            -2-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 4 of 35 Page ID #:4




 1        III. COMMON ALLEGATIONS FOR ALL CLAIMS OF RELIEF
 2   A.    Monster’s Trademarks
 3         10.   Monster is a nationwide leader in the business of developing,
 4   marketing, selling, and distributing beverages. Monster has achieved extensive
 5   exposure and widespread recognition of its MONSTER™ brand through its
 6   extensive sales and its marketing and promotion of the brand.
 7         11.   In 2002, long before Defendants’ acts described herein, Monster
 8   launched its MONSTER ENERGY® drink brand, bearing its now-famous
 9   MONSTER ENERGY® and UNLEASH THE BEAST!® marks.                     Images of
10   Monster’s original MONSTER ENERGY® drink, which Monster has sold
11   continuously since 2002 and which bears the MONSTER ENERGY® mark and
12   UNLEASH THE BEAST!® mark, are shown below.
13
14
15
16
17
18
19
20
21
22
23
24
25
26         12.   Monster’s successful line of MONSTERTM drinks has grown to
27   include numerous other well-known products, the containers and packaging of
28   which are prominently marked with the MONSTERTM mark and most of which
                                           -3-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 5 of 35 Page ID #:5




 1   are also prominently marked with the UNLEASH THE BEAST!® mark or other
 2   BEAST-inclusive marks. The MONSTERTM line of drinks includes or has
 3   included, but is not limited to, original Monster Energy® and Lo-Carb Monster
 4   Energy®; Monster Assault®; Juice Monster® Khaos®, Juice Monster® Ripper®,
 5   and Juice Monster® Pipeline Punch®; Ubermonster®; Monster Energy® Gronk;
 6   Monster Energy® Import; Punch Monster® Baller’s Blend and Punch Monster®
 7   Mad Dog; Monster Energy Absolutely Zero®; Monster Energy Zero Ultra®,
 8   Monster Energy Ultra Blue®, Monster Energy Ultra Red®, Monster Energy Ultra
 9   Sunrise®, Monster Energy Ultra Citron®, and Monster Energy Ultra Black®;
10   Monster Rehab®, which is a line of tea-based non-carbonated energy drinks,
11   which includes Monster’s Monster Rehab® Tea + Orangeade + Energy, Monster
12   Rehab® Tea + Pink Lemonade + Energy, Monster Rehab® Tea + Lemonade +
13   Energy, Monster Rehab® Raspberry Tea + Energy, and Monster Rehab® Peach
14   Tea + Energy; Java Monster®, which is a line of dairy based coffee plus energy
15   drinks; Muscle Monster®, which is a line of energy shakes; Monster Energy
16   Extra Strength Nitrous Technology®, which is a line of energy drinks with a
17   blend of nitrous oxide and carbon dioxide to create a smoother energy drink;
                                                  ®
18   Monster™ Maxx Maximum Strength; and              Monster Energy® which is a five
19   ounce concentrated energy drink, among others (referred to collectively as
20   “MONSTER line of drinks”).
21         13.   Monster is also the owner of numerous trademark registrations for
22   marks that incorporate its famous MONSTERTM mark and/or MONSTER
23   ENERGY® mark for beverages, nutritional supplements, and other products and
24   services, including but not limited to the following U.S. Trademark
25   Registrations:
26
27
28
                                          -4-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 6 of 35 Page ID #:6




 1                                                      DATE            REG.
        MARK        REG. NO.           GOODS
                                                       FILED            DATE
 2
      MONSTER 3,044,315 Nutritional supplements in 5/23/2003         1/17/2006
 3    ENERGY             liquid form, but excluding
                         perishable beverage
 4
                         products that contain fruit
 5                       juice or soy, whether such
                         products are pasteurized or
 6
                         not
 7    MONSTER 3,057,061 Fruit juice drinks having a 4/18/2002        2/27/2006
 8    ENERGY             juice content of 50% or
                         less by volume that are
 9                       shelf stable, carbonated
10                       soft drinks, carbonated
                         drinks enhanced with
11                       vitamins, minerals,
12                       nutrients, amino acids
                         and/or herbs, but excluding
13                       perishable beverage
14                       products that contain fruit
                         juice or soy, whether such
15                       products are pasteurized or
16                       not
     M MONSTER 3,044,314 Nutritional supplements in 5/23/2003        1/17/2006
17    ENERGY             liquid form, but excluding
18                       perishable beverage
                         products that contain fruit
19                       juice or soy, whether such
20                       products are pasteurized or
                         not
21
     M MONSTER 3,134,842 Beverages, namely,          5/7/2003        8/29/2006
22    ENERGY             carbonated soft drinks,
                         carbonated drinks
23
                         enhanced with vitamins,
24                       minerals, nutrients, amino
                         acids and/or herbs,
25
                         carbonated energy or
26                       sports drinks, fruit juice
27                       drinks having a juice
                         content of 50% or less by
28                       volume that are shelf
                                         -5-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 7 of 35 Page ID #:7




 1                                                          DATE         REG.
        MARK        REG. NO.            GOODS
                                                            FILED        DATE
 2
                                stable, but excluding
 3                              perishable beverage
                                products that contain fruit
 4
                                juice or soy, whether such
 5                              products are pasteurized or
                                not
 6
       MONSTER 4,036,680        Nutritional supplements in 9/11/2007   10/11/2011
 7     ENERGY                   liquid form
 8     MONSTER 4,036,681        Non-alcoholic beverages, 9/11/2007     10/11/2011
       ENERGY                   namely, energy drinks,
 9                              excluding perishable
10                              beverage products that
                                contain fruit juice or soy
11                  3,134,841   Beverages, namely,          5/7/2003   8/29/2006
12                              carbonated soft drinks,
                                carbonated soft drinks
13
                                enhanced with vitamins,
14                              minerals, nutrients, amino
                                acids and/or herbs,
15
                                carbonated energy and
16                              sports drinks, fruit juice
                                drinks having a juice
17
                                content of 50% or less by
18                              volume that are shelf
                                stable, but excluding
19
                                perishable beverage
20                              products that contain fruit
                                juice or soy, whether such
21
                                products are pasteurized or
22                              not
23                  4,865,702   Nutritional supplements in 2/2/2015    12/8/2015
                                liquid form;
24                              Non-alcoholic beverages,
25                              namely, carbonated soft
                                drinks; carbonated drinks
26                              enhanced with vitamins,
27                              minerals, nutrients,
                                proteins, amino acids
28
                                          -6-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 8 of 35 Page ID #:8




 1                                                         DATE        REG.
        MARK        REG. NO.           GOODS
                                                           FILED       DATE
 2
                               and/or herbs; carbonated
 3                             energy drinks and sports
                               drinks
 4
        JAVA   3,959,457       Beverages, namely, soft     12/8/2005 5/10/2011
 5     MONSTER                 drinks; non-carbonated
 6                             energy drinks; non-
                               carbonated sports drinks;
 7                             soft drinks and non-
 8                             carbonated energy drinks,
                               all enhanced with
 9                             vitamins, minerals,
10                             nutrients, amino acids,
                               and/or herbs, but excluding
11                             perishable beverage
12                             products that contain fruit
                               juice or soy, whether such
13                             products are pasteurized or
14                             not
        JUICE  4,716,750       Nutritional supplements in 2/24/2012 4/7/2015
15     MONSTER                 liquid form; Non-alcoholic
16                             beverages, namely, energy
                               drinks and drinks
17                             enhanced with vitamins,
18                             minerals, nutrients, amino
                               acids and/or herbs, but
19                             excluding perishable
20                             beverage products that
                               contain fruit juice or soy
21
       LO-CARB 3,852,118       Nutritional supplements; 2/13/2009 9/28/2010
22     MONSTER                 non-alcoholic beverages,
       ENERGY                  namely, energy drinks,
23
                               drinks enhanced with
24                             vitamins, minerals,
                               nutrients, amino acids
25
                               and/or herbs
26    MONSTER 4,634,053        Nutritional supplements in 11/15/2013 11/4/2014
27    ASSSAULT                 liquid form; vitamin
                               fortified beverages; Non-
28
                                         -7-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 9 of 35 Page ID #:9




 1                                                         DATE         REG.
        MARK        REG. NO.           GOODS
                                                           FILED        DATE
 2
                               alcoholic beverages,
 3                             namely, energy drinks,
                               energy drinks flavored
 4
                               with juice, sports drinks,
 5                             all enhanced with
                               vitamins, minerals,
 6
                               nutrients, proteins, amino
 7                             acids, and/or herbs, but
                               excluding perishable
 8
                               beverage products that
 9                             contain fruit juice or soy,
                               whether such products are
10
                               pasteurized or not
11     MONSTER 5,013,706       Nutritional supplements in 1/20/2015   8/2/2016
        ENERGY                 liquid form; Non-alcoholic
12    ABSOLUTELY
                               beverages, namely, soft
13       ZERO
                               drinks, carbonated soft
14                             drinks, energy drinks and
                               sports drinks; energy
15                             drinks and sports drinks
16                             enhanced with vitamins,
                               minerals, nutrients, amino
17                             acids and/or herbs
18     MONSTER 4,030,735       Nutritional supplements in 7/16/2010   9/27/2011
       ENERGY                  liquid form; Beverages,
19      EXTRA
                               namely, carbonated soft
      STRENGTH
20     NITROUS                 drinks; carbonated energy
     TECHNOLOGY                drinks; carbonated sports
21                             drinks; soft drinks, all
22                             enhanced with vitamins,
                               minerals, nutrients,
23                             proteins, amino acids,
24                             and/or herbs, but excluding
                               perishable beverage
25                             products that contain fruit
26                             juice or soy, whether such
                               products are pasteurized or
27
                               not
28
                                         -8-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 10 of 35 Page ID #:10




  1                                                             DATE        REG.
          MARK       REG. NO.            GOODS
                                                               FILED        DATE
  2
        MONSTER 5,281,559       Nutritional supplements in 6/12/2014     9/5/2017
  3     ENERGY                  liquid form; Non-alcoholic
         ULTRA                  beverages, namely,
  4
                                carbonated soft drinks,
  5                             carbonated energy drinks,
                                sports drinks, and soft
  6
                                drinks; energy drinks and
  7                             sports drinks enhanced
                                with vitamins, minerals,
  8
                                nutrients, amino acids
  9                             and/or herbs
 10     MONSTER 4,111,964       Ready to drink tea, iced tea 8/24/2011   3/13/2012
         REHAB                  and tea based beverages;
 11                             ready to drink flavored tea,
 12                             iced tea and tea based
                                beverages
 13     MONSTER 4,129,288       Nutritional supplements in 7/6/2010      4/17/2012
 14      REHAB                  liquid form; Beverages,
                                namely, non-alcoholic
 15                             non-carbonated drinks
 16                             enhanced with vitamins,
                                minerals, nutrients,
 17                             proteins, amino acids
 18                             and/or herbs; non-
                                carbonated energy or
 19                             sports drinks, fruit juice
 20                             drinks having a juice
                                content of 50% or less by
 21                             volume that are shelf-
 22                             stable; all the foregoing
                                goods exclude perishable
 23                             beverage products that
 24                             contain fruit juice or soy,
                                whether such products are
 25                             pasteurized or not
 26     MUSCLE 4,376,796        Nutritional supplements in 7/2/2010      7/30/2013
 27     MONSTER                 liquid form; Beverages,
                                namely, soft drinks; non-
 28                             alcoholic and non-
                                          -9-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 11 of 35 Page ID #:11




  1                                                         DATE        REG.
          MARK       REG. NO.           GOODS
                                                            FILED       DATE
  2
                                carbonated drinks
  3                             enhanced with vitamins,
                                minerals, nutrients,
  4
                                proteins, amino acids
  5                             and/or herbs; non-
                                carbonated energy or
  6
                                sports drinks; all the
  7                             foregoing goods exclude
                                perishable beverage
  8
                                products that contain fruit
  9                             juice or soy, whether such
                                products are pasteurized or
 10
                                not
 11      PUNCH  4,604,556       Nutritional supplements in 11/22/2013 9/16/2014
 12     MONSTER                 liquid form; vitamin
                                fortified beverages; Non-
 13                             alcoholic beverages,
 14                             namely, energy drinks,
                                energy drinks flavored
 15                             with juice, fruit-flavored
 16                             drinks, soft drinks, sports
                                drinks, all enhanced with
 17                             vitamins, minerals,
 18                             nutrients, amino acids
                                and/or herbs; all the
 19                             foregoing goods exclude
 20                             perishable beverage
                                products that contain fruit
 21                             juice or soy, whether such
 22                             products are pasteurized or
                                not
 23      UBER-  4,234,456       Nutritional supplements in 7/9/2010   10/30/2012
 24     MONSTER                 liquid form; Beverages,
                                namely, carbonated soft
 25                             drinks; non-alcoholic
 26                             carbonated soft drinks and
                                energy drinks enhanced
 27
                                with vitamins, minerals,
 28                             nutrients, proteins, amino
                                         -10-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 12 of 35 Page ID #:12




  1                                                            DATE         REG.
          MARK       REG. NO.             GOODS
                                                               FILED        DATE
  2
                                 acids and/or herbs;
  3                              carbonated energy drinks
                                 and sports drinks, all the
  4
                                 foregoing goods exclude
  5                              perishable beverage
                                 products that contain fruit
  6
                                 juice or soy, whether such
  7                              products are pasteurized or
                                 not
  8
  9         14.   Attached hereto as Exhibits A1-A20 are true and correct copies of
 10   Monster’s trademark registrations identified in Paragraph 13 of this Complaint,
 11   which are hereby incorporated by reference. Collectively, those registrations
 12   and trademarks and the MONSTERTM mark and other MONSTER-containing
 13   marks used by Monster, including all common law rights therein, are referred to
 14   as the “MONSTER Marks.”
 15         15.   Additionally, since at least 2002, Monster has been, and still is,
 16   engaged in the development, marketing and sale of beverages bearing Monster’s
 17   UNLEASH THE BEAST!® mark and other BEAST-inclusive marks in
 18   connection with its MONSTERTM line of drinks. Monster’s UNLEASH THE
 19   BEAST!® mark, in addition to appearing on the original MONSTER ENERGY®
 20   drink container, has also appeared on the containers of other products in the
 21   MONSTERTM line of drinks, including continually appearing on the Lo-Carb
 22   MONSTER ENERGY® drink since that product was launched in 2003. The
 23   original MONSTER ENERGY® and Lo-Carb MONSTER ENERGY® drinks
 24   are the two best-selling drinks in the MONSTERTM line of drinks.
 25         16.   Since the launch of the MONSTERTM line of drinks in 2002, and
 26   prior to the acts of Defendants complained of herein, Monster has continuously
 27   used the UNLEASH THE BEAST!® mark and/or other marks containing the
 28   term BEAST, including but not limited to, UNLEASH THE NITRO BEAST!®,
                                           -11-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 13 of 35 Page ID #:13




  1   REHAB         THE        BEAST!®,          REHAB       THE        BEAST!
  2   WWW.MONSTERENERGY.COM®, UNLEASH THE ULTRA BEAST!®, and
  3   PUMP UP THE BEAST!® (collectively, the “BEAST-Inclusive Marks”) on its
  4   MONSTERTM line of drinks. Some representative examples of Monster’s use of
  5   its BEAST-Inclusive Marks on its MONSTERTM line of drinks are shown
  6   below:
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                          -12-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 14 of 35 Page ID #:14




  1
  2
  3
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                         -13-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 15 of 35 Page ID #:15




  1
  2
  3
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13         17.   Monster is the owner of numerous trademark registrations for its
 14   BEAST-Inclusive Marks, including but not limited to the following U.S.
 15   Trademark Registrations:
 16                                                          DATE        REG.
         MARK        REG. NO.            GOODS
                                                             FILED       DATE
 17
       UNLEASH       2,769,364 Fruit juice drinks, soft    12/18/2002 9/30/2003
 18      THE                   drinks, carbonated soft
        BEAST!                 drinks and soft drinks
 19
                               enhanced with vitamins,
 20                            minerals, nutrients, amino
                               acids and/or herbs
 21
       UNLEASH       4,394,044 Non-alcoholic beverages, 12/14/2010 8/27/2013
 22    THE NITRO               namely, carbonated soft
 23     BEAST!                 drinks; carbonated drinks
                               enhanced with vitamins,
 24                            minerals, nutrients,
 25                            proteins, amino acids
                               and/or herbs; carbonated
 26                            energy or sports drinks
 27
 28
                                         -14-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 16 of 35 Page ID #:16




  1                                                              DATE      REG.
         MARK        REG. NO.            GOODS
                                                                FILED      DATE
  2
         REHAB       4,336,329   Ready to drink tea, iced tea 11/3/2010 5/14/2013
  3       THE                    and tea based beverages;
         BEAST!                  ready to drink flavored tea,
  4
                                 iced tea and tea based
  5                              beverages; Non-alcoholic
                                 beverages, namely, energy
  6
                                 drinks, sports drinks and
  7                              fruit juice drinks; all the
                                 foregoing enhanced with
  8
                                 vitamins, minerals,
  9                              nutrients, proteins, amino
                                 acids and/or herbs
 10
        REHAB   4,292,502        Ready to drink tea, iced tea 2/15/2012 2/19/2013
 11       THE                    and tea based beverages;
 12     BEAST!                   ready to drink flavored tea,
       WWW.MON                   iced tea and tea based
 13    STERENER                  beverages; Non-alcoholic
 14     GY.COM                   beverages, namely, energy
                                 drinks, sports drinks and
 15                              fruit juice drinks, all the
 16                              foregoing enhanced with
                                 vitamins, minerals,
 17                              nutrients, proteins, amino
 18                              acids and/or herbs
       UNLEASH 4,371,544         Non-alcoholic beverages, 11/19/2012 7/23/2013
 19   THE ULTRA                  namely, carbonated soft
 20     BEAST!                   drinks; carbonated drinks
                                 enhanced with vitamins,
 21                              minerals, nutrients,
 22                              proteins, amino acids
                                 and/or herbs; carbonated
 23                              energy drinks and sports
 24                              drinks
        PUMP UP      4,482,659   Nutritional supplements in 5/15/2013 2/11/2014
 25
          THE                    liquid form; vitamin
 26      BEAST!                  fortified beverages
 27
 28
                                          -15-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 17 of 35 Page ID #:17




  1                                                             DATE         REG.
         MARK        REG. NO.              GOODS
                                                               FILED         DATE
  2
        PUMP UP       4,482,660 Dairy-based beverages;       5/15/2013    2/11/2014
  3       THE                   dairy-based energy shakes
         BEAST!
  4
        PUMP UP       4,542,107 Ready to drink coffee-    5/15/2013       6/3/2014
  5       THE                   based beverages; coffee-
  6      BEAST!                 based shakes for boosting
                                energy; chocolate-based
  7                             shakes for boosting
  8                             energy; ready to drink
                                chocolate-based beverages
  9     PUMP UP       4,546,402 Non-alcoholic beverages, 5/15/2013        6/10/2014
 10       THE                   namely, non-alcoholic and
         BEAST!                 non-carbonated drinks
 11                             enhanced with vitamins,
 12                             minerals, nutrients,
                                proteins, amino acids
 13                             and/or herbs; non-
 14                             carbonated energy or
                                sports drinks
 15
 16         18.   Attached hereto as Exhibits B1-B9 are true and correct copies of
 17   Monster’s trademark registrations identified in Paragraph 17 of this Complaint,
 18   which are incorporated herein by reference.
 19         19.   Monster has and continues to widely market and promote its
 20   MONSTER Marks and BEAST-Inclusive Marks by displaying the marks on
 21   billions of cans of its MONSTERTM line of drinks sold in the U.S.; on
 22   promotional and point of sale materials; on product samplings; apparel and
 23   merchandise; in magazines and other industry publications; on the MONSTER
 24   ENERGY® website, the Monster Army website, and other Internet websites; on
 25   Monster’s social media sites; at trade shows, concert tours and live events; and
 26   through sponsorship of athletes.
 27         20.   The MONSTERTM line of drinks, which display the MONSTER
 28   Marks and most of which also display the BEAST-Inclusive marks, has
                                           -16-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 18 of 35 Page ID #:18




  1   achieved substantial commercial success. Worldwide retail sales now exceed 3
  2   billion cans per year, with estimated retail sales at approximately $6 billion per
  3   year worldwide. The MONSTERTM brand has established itself as the best-
  4   selling energy drink brand in the U.S. by unit volume and dollar value.
  5         21.    Monster also invests substantial sums in marketing its brand. Since
  6   2002, Monster has spent approximately $4.6 billion in marketing and promoting
  7   its MONSTERTM brand, including its MONSTER Marks and BEAST-Inclusive
  8   Marks. In 2017 alone, Monster spent $537 million in marketing and promoting
  9   its MONSTERTM brand, including its MONSTER Marks and BEAST-Inclusive
 10   Marks.
 11         22.    Monster has distributed millions of point-of-sale marketing items
 12   bearing its MONSTER Marks and/or BEAST-Inclusive Marks. These point-of-
 13   sale marketing items include, but are not limited to, case stackers, stickers,
 14   displays for shelves, suction cup racks and coolers. Below are true and accurate
 15   representative pictures illustrating examples of Monster’s point-of-sale
 16   materials.
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                            -17-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 19 of 35 Page ID #:19




  1
  2
  3
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20         23.   Monster also widely markets and promotes its MONSTER Marks
 21   and BEAST-Inclusive Marks to consumers through clothing sales and
 22   giveaways. Since 2002, Monster has licensed, sold, and/or given away clothing
 23   bearing its MONSTER ENERGY® mark and UNLEASH THE BEAST!® mark,
 24   among other marks.
 25         24.   Monster’s MONSTER ENERGY® mark and the UNLEASH THE
 26   BEAST!® mark have also received significant exposure in national publications.
 27   For example, the marks have been featured in Fortune, Newsweek, Beverage
 28   World, Beverage Spectrum, Forbes, and/or Business Week, among other
                                          -18-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 20 of 35 Page ID #:20




  1   publications.
  2         25.       Monster’s MONSTER Marks and BEAST-Inclusive Marks also
  3   receive extensive publicity and exposure through Monster’s websites, including
  4   its www.monsterenergy.com website and social media sites including Monster’s
  5   Facebook, Twitter, Instagram, and YouTube accounts.           As of June 2015,
  6   Monster’s www.monsterenergy.com website was receiving over 50,000 visitors
  7   per day. Monster’s Facebook page has over 26.3 million “likes.” Monster’s
  8   Instagram page has over 4.5 million followers. Monster’s YouTube page has
  9   over 250 million views. The MONSTER Marks and BEAST-Inclusive Marks
 10   are displayed on these websites and/or social media sites.
 11         26.       Monster also has and continues to widely market and promote its
 12   MONSTER Marks and BEAST-Inclusive Marks through the sponsorship of
 13   athletes, athletic teams, and athletic competitions, as well as concerts and live
 14   events around the world.       The MONSTER Marks and/or BEAST-Inclusive
 15   Marks are also prominently displayed at live events sponsored by Monster,
 16   including through the use of promotional items. Monster also frequently gives
 17   away products bearing its MONSTER Marks and/or BEAST-Inclusive Marks to
 18   attendees at these events.
 19         27.       In 2018 Monster became the title sponsor of the Professional Bull
 20   Riders (“PBR”) tour for PBR’s 25th Anniversary Season, which is titled the
 21   “Unleash the Beast Tour” as shown, for example, below:
 22
 23
 24
 25
 26
 27
 28
                                              -19-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 21 of 35 Page ID #:21




  1
  2
  3
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13   The PBR is experiencing unprecedented growth in global appeal. More than
 14   600 bull riders from around the globe compete in more than 300 bull riding
 15   events each year on either the nationally televised Built Ford Tough Series, the
 16   Blue DEF Velocity Tour or the Touring Pro Division.
 17         28.   The MONSTER ENERGY® mark and UNLEASH THE BEAST!®
 18   mark were also marketed and promoted while prominently displayed on the Las
 19   Vegas monorail (the “Monster Train”). In 2003, Monster engaged in a massive
 20   advertising campaign in connection with its sponsorship of the Monster Train,
 21   which prominently featured the MONSTER ENERGY® mark and the
 22   UNLEASH THE BEAST!® mark. The Monster Train was featured in The Wall
 23   Street Journal, Time, and USA Today in 2003, and these articles were read by an
 24   estimated 32 million people in the U.S. Television and internet reports that
 25   discussed the Las Vegas Monster Train reached another 70 million readers, and
 26   television and radio promotions were circulated to approximately 36 million
 27   people in the U.S.
 28
                                           -20-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 22 of 35 Page ID #:22




  1           29.   As a result of Monster’s substantial use and promotion of its
  2   MONSTER Marks and BEAST-Inclusive Marks, Monster has obtained strong
  3   common law rights in the marks. The marks have acquired great value as
  4   specific identifiers of Monster’s products and services and serve to identify and
  5   distinguish the products and services from those of others. Customers in this
  6   Judicial District and elsewhere readily recognize the MONSTER Marks and
  7   BEAST-Inclusive Marks as distinctive designations of the origin of Monster’s
  8   products and services. The marks are intellectual property assets of enormous
  9   value as symbols of Monster and its quality products, services, reputation and
 10   goodwill.
 11   B.      Defendants’ Infringing Activities
 12           30.   Upon information and belief, Defendant Thunder Beast is engaged
 13   in the business of producing, selling, and distributing beverages, including root
 14   beer.
 15           31.   Upon information and belief, Defendant Stephen Norberg is
 16   Thunder Beast’s sole owner and sole officer. Upon information and belief, Mr.
 17   Norberg directs and controls all aspects of Thunder Beast’s business, including
 18   manufacturing, labeling, marketing, distributing, and selling Thunder Beast’s
 19   goods, as well as making all day-to-day business decisions and overall business
 20   decisions for Thunder Beast, including the acts of infringement, false
 21   designation of origin, and unfair competition complained of herein.
 22           32.   Upon information and belief, Defendants own and operate the
 23   website, www.drinkthunderbeast.com, and maintain the Facebook account,
 24   www.facebook.com/drinkthunderbeast. A WHOIS lookup of Thunder Beast’s
 25   website, www.drinkthunderbeast.com, shows that the registrant is Stephen
 26   Norberg.      A true and correct printout of the WHOIS lookup for
 27   drinkthunderbeast.com is attached hereto as Exhibit C, which is hereby
 28   incorporated by reference.
                                            -21-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 23 of 35 Page ID #:23




  1         33.    Defendants’ website, which sells Defendants’ goods, states that the
  2   goods are “[s]hipped anywhere in the lower 48 of America.”
  3         34.    Defendants have sold their beverage products, including the
  4   product shown in Paragraph 38 of this Complaint, to customers in California,
  5   including to customers in this Judicial District.
  6         35.    Defendant Thunder Beast is the owner of U.S. Trademark
  7   Registration No. 4,772,758 for the mark THUNDER BEAST in International
  8   Class 32 for “non-alcoholic beverages, namely, carbonated beverages.” A true
  9   and correct copy of U.S. Trademark Registration No. 4,772,758 is attached
 10   hereto as Exhibit D, which is hereby incorporated by reference.
 11         36.    Defendants have marketed, sold and are offering for sale beverages
 12   in connection with the THUNDER BEAST mark.
 13         37.    On January 22, 2016, Monster filed a Petition for Cancellation with
 14   the United States Patent and Trademark Office (“USPTO”) (Cancellation No.
 15   92063037) seeking to cancel Thunder Beast’s U.S. Trademark Registration No.
 16   4,772,758 for the THUNDER BEAST mark based on a likelihood of confusion
 17   with Monster’s BEAST-Inclusive Marks.           Proceedings in Cancellation No.
 18   92063037 (the “USPTO Cancellation”) are ongoing.
 19         38.    Upon information and belief, Defendants were aware of Monster
 20   and Monster’s rights in its MONSTER Marks and BEAST-Inclusive Marks at
 21   least as early as January 2016 when the USPTO Cancellation was initiated.
 22         39.    After the USPTO Cancellation proceedings began, and without
 23   permission or consent from Monster, Defendants added DRINK THUNDER.
 24   FIGHT       MONSTERS!,       to   the   THUNDER       BEAST       beverages   and
 25   advertisements. Examples of Defendants’ promotional materials and goods are
 26   shown below:
 27
 28
                                              -22-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 24 of 35 Page ID #:24




  1
  2
  3
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                         -23-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 25 of 35 Page ID #:25




  1         40.    Defendants had actual notice of Monster and Monster’s rights in
  2   the MONSTER Marks and the BEAST-Inclusive Marks when Defendants
  3   added the term MONSTERS directly above BEAST to the label of its
  4   beverages.    At that time, Defendants also knew that Monster used its
  5   MONSTER Marks and BEAST-Inclusive Marks together on Monster’s
  6   beverages.    Defendants thereafter adopted a new label design in which
  7   “MONSTERS” appears directly above “BEAST,” as shown above.
  8         41.    Defendants have also used, without permission or consent from
  9   Monster, Monster’s marks, including Monster’s MONSTER ENERGY® mark
 10   in the green and black colors as widely used by Monster, on their website, their
 11   social media sites, and on point-of-sale materials. For example, Defendants are
 12   using Monster’s MONSTER ENERGY® mark to attract customers to
 13   Defendants’ booths at markets where Defendants offer their beverages for sale.
 14         42.    Defendants are not affiliated with Monster.      At no time has
 15   Monster ever given Defendants license, permission, or authority to use or
 16   display any of Monster’s marks, including the MONSTER Marks or BEAST-
 17   Inclusive Marks.
 18         43.    Defendants have intentionally attempted to capitalize on Monster’s
 19   valuable reputation and customer goodwill in the MONSTER Marks and the
 20   BEAST-Inclusive Marks by using marks that are confusingly similar to
 21   Monster’s MONSTER Marks and BEAST-Inclusive Marks on and in
 22   connection with Defendants’ products, including on the product labels, on
 23   Defendants’ website and social media sites, and in other marketing and
 24   promotional materials.
 25         44.    Upon information and belief, Defendants’ actions alleged herein
 26   are intended to cause confusion, mistake, or deception as to the source of
 27   Defendants’ products and are intended to cause consumers and potential
 28   customers to believe that Defendants’ products are associated with Monster or
                                           -24-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 26 of 35 Page ID #:26




  1   the MONSTERTM line of drinks, when they are not.
  2         45.    Defendants have a duty to avoid confusion with Monster and its
  3   marks because Defendants entered the market after Monster. Nevertheless,
  4   Defendants have purposely promoted, marketed, and/or sold their goods in a
  5   manner that is likely to cause confusion with Monster and its products.
  6         46.    By virtue of the acts complained of herein, Defendants have
  7   created a likelihood of injury to Monster’s business reputation and goodwill,
  8   caused a likelihood of consumer confusion, mistake, and deception as to the
  9   source of origin or relationship of Monster’s goods and Defendants’ goods, and
 10   have otherwise competed unfairly with Monster by unlawfully trading on and
 11   using Monster’s marks without Monster’s permission or consent.
 12         47.    Upon information and belief, Defendants’ acts complained of
 13   herein have been willful and deliberate.
 14         48.    Defendants’ acts complained of herein have caused damage to
 15   Monster in an amount to be determined at trial, and such damages will continue
 16   to increase unless Defendants are enjoined from their wrongful acts and
 17   infringement.
 18         49.    Defendants’ acts complained of herein have caused Monster to
 19   suffer irreparable injury to its business. Monster will suffer substantial loss of
 20   goodwill and reputation unless and until Defendants are preliminarily and
 21   permanently enjoined from the wrongful acts complained of herein.
 22                         IV. FIRST CLAIM FOR RELIEF
 23   (Trademark Infringement and False Designation of Origin Under 15 U.S.C.
 24                                       § 1125(a))
 25        50.     Monster hereby repeats, realleges, and incorporates by reference
 26   Paragraphs 1-49 of this Complaint as if set forth fully herein.
 27        51.     This is an action for trademark infringement and false designation
 28   of origin arising under 15 U.S.C. § 1125(a).
                                             -25-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 27 of 35 Page ID #:27




  1        52.     As a result of the widespread use and promotion of Monster’s
  2   MONSTER Marks and BEAST-Inclusive Marks, the marks have acquired
  3   strong fame and secondary meaning to consumers and potential customers, in
  4   that consumers and potential customers have come to associate the marks with
  5   Monster.
  6        53.     Defendants have infringed the MONSTER Marks and BEAST-
  7   Inclusive Marks, and created a false designation of origin, by using in
  8   commerce, without Monster’s permission, those marks or confusingly similar
  9   marks in connection with the advertisement, promotion, offering for sale, and/or
 10   sale of Defendants’ goods.
 11        54.     Defendants’ actions are likely to cause confusion and mistake, or to
 12   deceive as to the affiliation, connection, or association of Monster with
 13   Defendants, and/or as to the origin, sponsorship, or approval of Defendants’
 14   products or Defendants’ commercial activities, in violation of 15 U.S.C.
 15   § 1125(a).
 16        55.     Upon information and belief, Defendants acted with the intent to
 17   trade upon Monster’s reputation and goodwill by causing confusion and mistake
 18   among customers and the public and to deceive the public into believing that
 19   Defendants’ products are associated with, sponsored by or approved by
 20   Monster, when they are not.
 21        56.     Upon information and belief, Defendants had actual knowledge of
 22   Monster’s ownership and prior use of the MONSTER Marks and BEAST-
 23   Inclusive Marks, and without the consent of Monster, willfully violated 15
 24   U.S.C. § 1125(a).
 25        57.     Defendants, by their actions, have damaged Monster in an amount
 26   to be determined at trial.
 27        58.     Defendants, by their actions, have irreparably injured Monster.
 28   Such irreparable injury will continue unless Defendants are preliminarily and
                                            -26-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 28 of 35 Page ID #:28




  1   permanently enjoined by this Court from further violation of Monster’s rights,
  2   for which Monster has no adequate remedy at law.
  3                        V. SECOND CLAIM FOR RELIEF
  4                (Trademark Infringement Under 15 U.S.C. § 1114)
  5          59.   Monster hereby repeats, realleges, and incorporates by reference
  6   Paragraphs 1-58 of this Complaint as if set forth fully herein.
  7          60.   This is a claim for trademark infringement arising under 15 U.S.C.
  8   § 1114.
  9          61.   Monster    owns    valid   and    enforceable   federally   registered
 10   trademarks for the MONSTER Marks and BEAST-Inclusive Marks, including
 11   at least the registrations listed in Paragraphs 13 and 17 of this Complaint.
 12          62.   Defendants have used in commerce, without permission from
 13   Monster, colorable imitations and/or confusingly similar marks to Monster’s
 14   MONSTER Marks and BEAST-Inclusive Marks that are the subject of at least
 15   Monster’s U.S. Trademark Registrations listed in Paragraphs 13 and 17 of this
 16   Complaint in connection with the advertising, marketing, and/or promotion of
 17   Defendants’ goods. Such use is likely to cause confusion or mistake, or to
 18   deceive.
 19          63.   Upon information and belief, Defendants’ activities complained of
 20   herein constitute willful and intentional infringements of Monster’s registered
 21   marks, and Defendants acted with the intent to trade upon Monster’s reputation
 22   and goodwill by causing confusion and mistake among customers and the public
 23   and to deceive the public into believing that Defendants’ goods are associated
 24   with, sponsored by, originated from, or are approved by Monster, when they are
 25   not.
 26          64.   Upon information and belief, Defendants had actual knowledge of
 27   Monster’s ownership and prior use of the MONSTER Marks and BEAST-
 28   Inclusive Marks and without the consent of Monster, willfully violated 15
                                              -27-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 29 of 35 Page ID #:29




  1   U.S.C. § 1114.
  2           65.   Defendants, by their actions, have damaged Monster in an amount
  3   to be determined at trial.
  4           66.   Defendants, by their actions, have irreparably injured Monster.
  5   Such irreparable injury will continue unless Defendants are preliminarily and
  6   permanently enjoined by this Court from further violation of Monster’s rights,
  7   for which Monster has no adequate remedy at law.
  8                         VI. THIRD CLAIM FOR RELIEF
  9          (Unfair Competition Under California Business & Professions Code
 10                                   §§ 17200 et seq.)
 11           67.   Monster hereby repeats, realleges, and incorporates by reference
 12   Paragraphs 1-66 of this Complaint as if set forth fully herein.
 13           68.   This is an action for unfair competition under California Business
 14   & Professions Code §§ 17200, et seq.
 15           69.   By virtue of the acts complained of herein, Defendants have
 16   intentionally caused a likelihood of confusion among consumers and the public
 17   and have unfairly competed in violation of Cal. Bus. & Prof. Code §§ 17200, et
 18   seq.
 19           70.   Defendants’ acts complained of herein constitute trademark
 20   infringement and unfair competition which have injured and damaged Monster.
 21           71.   Defendants, by their actions, have irreparably injured Monster.
 22   Such irreparable injury will continue unless Defendants are preliminarily and
 23   permanently enjoined by this Court from further violation of Monster’s rights,
 24   for which Monster has no adequate remedy at law.
 25                       VII. FOURTH CLAIM FOR RELIEF
 26                    (California Common Law Unfair Competition)
 27           72.   Monster hereby repeats, realleges, and incorporates by reference
 28   Paragraphs 1-71 of this Complaint as if set forth fully herein.
                                             -28-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 30 of 35 Page ID #:30




  1         73.     This is an action for unfair competition under the common law of
  2   the State of California.
  3         74.     Defendants’ acts complained of herein constitute trademark
  4   infringement and unfair competition under the common law of the State of
  5   California.
  6         75.     By virtue of the acts complained of herein, Defendants have
  7   willfully and intentionally caused a likelihood of confusion among the
  8   purchasing public in this Judicial District and elsewhere, thereby unfairly
  9   competing with Monster in violation of the common law of the State of
 10   California.
 11         76.     Defendants’ aforementioned acts have damaged Monster in an
 12   amount to be determined at trial.
 13         77.     Defendants have irreparably injured Monster.        Such irreparable
 14   injury will continue unless Defendants are preliminarily and permanently
 15   enjoined by this Court from further violation of Monster’s rights, for which
 16   Monster has no adequate remedy at law.
 17         78.     Defendants’ willful acts of unfair competition under California
 18   common law constitute fraud, oppression and malice. Accordingly, Monster is
 19   entitled to exemplary damages pursuant to Cal. Civ. Code § 3294(a).
 20                        VIII. FIFTH CLAIM FOR RELIEF
 21     (Petition for Cancellation of U.S. Trademark Registration No. 4,772,758
 22                               Under 15 U.S.C. § 1119)
 23         79.     Monster hereby repeats, realleges, and incorporates by reference
 24   Paragraphs 1-78 of this Complaint as if set forth fully herein.
 25         80.     This is a claim for cancellation of Defendant Thunder Beast’s U.S.
 26   Trademark Registration No. 4,772,758 (the “Contested Registration”) under 15
 27   U.S.C. § 1119.
 28   ///
                                             -29-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 31 of 35 Page ID #:31




  1         81.    Prior to the first use, filing, and registration dates of the Contested
  2   Registration, Monster has continuously used its BEAST-Inclusive Marks in
  3   connection with its products and services, including beverages. By virtue of
  4   Monster’s continuous and substantial use of its BEAST-Inclusive Marks, the
  5   marks have become strong identifiers of Monster and its products and services,
  6   and distinguish Monster’s products and services from those of others. Monster
  7   has built up significant and valuable goodwill and customer recognition in its
  8   BEAST-Inclusive Marks. Monster relies on U.S. Trademark registrations for its
  9   BEAST Marks identified in Paragraph 17 of this Complaint.
 10         82.    Monster is being damaged by continued registration of the
 11   Contested Registration in that the mark shown in the registration is confusingly
 12   similar to Monster’s BEAST-Inclusive Marks.           Potential purchasers, upon
 13   seeing the mark shown in the Contested Registration, are likely to mistakenly
 14   believe that such mark and goods identified in the registration originate with or
 15   are connected or associated with, or sponsored, licensed, or approved by
 16   Monster.
 17         83.    In view of Monster’s prior rights in the BEAST-Inclusive Marks,
 18   Defendant Thunder Beast is not entitled to federal registration of the mark
 19   shown in the Contested Registration and this registration should be cancelled
 20   pursuant to 15 U.S.C. § 1119.
 21                            IX. PRAYER FOR RELIEF
 22         WHEREFORE, Monster prays for judgment against Defendants as
 23   follows:
 24         1.     That the Court render a final judgment in favor of Monster and
 25   against Defendants on all claims for relief alleged herein;
 26         2.     That the Court render a final judgment that Defendants have
 27   violated the provisions of 15 U.S.C. § 1125(a) by infringing the MONSTER
 28
                                             -30-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 32 of 35 Page ID #:32




  1   Marks and the BEAST-Inclusive Marks and falsely designating the origin of
  2   their goods through the marketing, sale, and promotion of Defendants’ goods;
  3         3.    That the Court render a final judgment that Defendants have
  4   willfully violated the provisions of 15 U.S.C. § 1114 by infringing Monster’s
  5   trademark rights in at least the marks that are the subject of the U.S. Trademark
  6   Registrations listed in Paragraphs 13 and 17 of this Complaint;
  7         4.    That the Court render a final judgment declaring that Defendants
  8   have violated and willfully violated the provisions of California Business &
  9   Professions Code §§ 17200, et seq. by committing trademark infringement and
 10   unfairly competing with Monster;
 11         5.    That the Court render a final judgment declaring that Defendants
 12   have violated California common law by unfairly competing with Monster;
 13         6.    That the Court direct the United States Patent and Trademark
 14   Office to cancel U.S. Trademark Registration No. 4,772,758;
 15         7.    That Defendants, their agents, servants, employees, attorneys,
 16   successors, and assigns, and all other persons in active concert or participation
 17   with Defendants who receive actual notice of the injunction by personal service
 18   or otherwise, be forthwith preliminarily and permanently enjoined from:
 19          a.   using the terms BEAST or MONSTERS in connection with the
 20               advertising, promotion, or sale of Defendants’ goods or using any
 21               of the MONSTER Marks and/or BEAST-Inclusive Marks, or any
 22               confusingly similar variations thereof, in connection with the
 23               advertising, promotion or sale of Defendants’ goods in any manner
 24               that is likely to create the impression that Defendants’ goods
 25               originate from Monster, are endorsed by Monster, or are connected
 26               in any way with Monster;
 27          b.   manufacturing, distributing, shipping, importing, reproducing,
 28               displaying, advertising, marketing, promoting, transferring, selling,
                                            -31-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 33 of 35 Page ID #:33




  1                and/or offering to sell any unauthorized products bearing any of the
  2                MONSTER Marks or BEAST-Inclusive Marks, and/or any
  3                confusingly similar marks;
  4          c.    filing any applications for registration of any trademarks
  5                confusingly similar to the MONSTER Marks or BEAST-Inclusive
  6                Marks;
  7          d.    otherwise infringing any of the MONSTER Marks, BEAST-
  8                Inclusive Marks, or any of Monster’s other trademarks;
  9          e.    falsely designating the origin of Defendants’ products;
 10          f.    unfairly competing with Monster in any manner whatsoever; and
 11          g.    causing a likelihood of confusion or injury to Monster’s business
 12                reputation;
 13           8.   That Defendants be directed to file with this Court and serve on
 14   Monster within thirty (30) days after the service of the injunction, a report, in
 15   writing, under oath, setting forth in detail the manner and form in which they
 16   have complied with the injunction pursuant to 15 U.S.C. § 1116;
 17           9.   That Defendants be required to account to Monster for any and all
 18   profits derived by Defendants and all damages sustained by Monster by virtue
 19   of Defendants’ acts complained of herein;
 20           10. That Defendants be ordered to pay over to Monster all damages
 21   which Monster has sustained as a consequence of the acts complained of herein,
 22   subject to proof at trial, together with prejudgment and post-judgment interest;
 23           11. That this case be deemed exceptional and the amount of the
 24   damages be trebled and that the amount of profits be increased as the Court
 25   deems appropriate, pursuant to 15 U.S.C. § 1117;
 26           12. That Monster be awarded exemplary damages from Defendants
 27   pursuant to Cal. Civ. Code. § 3294;
 28           13. That Defendants’ actions be deemed willful;
                                             -32-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 34 of 35 Page ID #:34




  1           14. That an award of reasonable costs, expenses, and attorneys’ fees be
  2   awarded to Monster pursuant to at least 15 U.S.C. § 1117;
  3           15. That Defendants be required to deliver and destroy all advertising,
  4   goods, and other unauthorized materials bearing the terms BEAST and/or
  5   MONSTERS, any of the MONSTER Marks, any of the BEAST-Inclusive
  6   Marks, or any confusingly similar marks, pursuant to 15 U.S.C. § 1118; and
  7           16. That Monster be awarded such other and further relief as this Court
  8   may deem just.
  9
 10                                Respectfully submitted,
 11                                 KNOBBE, MARTENS, OLSON & BEAR, LLP
 12
 13
 14   Dated: June 26, 2018         By: /s/ Matthew S. Bellinger
                                      Steven J. Nataupsky
 15                                   Lynda J. Zadra-Symes
 16                                   Matthew S. Bellinger
                                      Daniel C. Kiang
 17
 18                                Attorneys for Plaintiff,
                                   MONSTER ENERGY COMPANY
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                           -33-
Case 5:18-cv-01367-AB-AS Document 1 Filed 06/26/18 Page 35 of 35 Page ID #:35




  1                       X. DEMAND FOR TRIAL BY JURY
  2          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
  3   Monster Energy Company hereby demands a trial by jury on all issues so
  4   triable.
  5                                 Respectfully submitted,
                                    KNOBBE, MARTENS, OLSON & BEAR, LLP
  6
  7
  8   Dated: June 26, 2018          By: /s/ Matthew S. Bellinger
  9                                    Steven J. Nataupsky
                                       Lynda J. Zadra-Symes
 10                                    Matthew S. Bellinger
 11                                    Daniel C. Kiang
 12                                 Attorneys for Plaintiff,
 13                                 MONSTER ENERGY COMPANY
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                            -34-
